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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )            8:16CR102
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
SERGIO IRIBE-PARRA,                                )
                                                   )
                     Defendant.                    )




       This matter is before the court on the motion of First Assistant Federal Public Defender
Jeffrey L. Thomas and the Office of the Federal Public Defender to withdraw as counsel for
the defendant, Sergio Iribe-Parra (Iribe-Parra) (Filing No. 128). Mr. Thomas represents that
the Office of the Federal Public Defender has a conflict of interest in this matter. Mr.
Thomas’s and the Office of the Federal Public Defender’s motion to withdraw (Filing No. 128)
is granted.   Michael J. Tasset, P.O. Box 62, Oakland, NE 68045, (402) 685-5647, is
appointed to represent Iribe-Parra for the balance of these proceedings pursuant to the
Criminal Justice Act. Mr. Thomas shall forthwith provide Mr. Tasset with the discovery
materials provided the defendant by the government and such other materials obtained by Mr.
Thomas which are material to Iribe-Parra’s defense.
       The clerk shall provide a copy of this order to Mr. Tasset, and he shall file his
appearance forthwith.
       Trial of this matter remains scheduled for January 3, 2017, before Chief Judge
Laurie Smith Camp and a jury unless otherwise continued by the court.


       IT IS SO ORDERED.
       DATED this 28th day of December, 2016.


                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
